           Case 19-03467 Document 9 Filed in TXSB on 10/29/20 Page 1 of 2




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION                                           ENTERED
                                                                                              10/29/2020
IN RE:                                         §       Chapter 11
                                               §
IGNITE RESTAURANT GROUP, INC.,                 §       Case No. 17-33550 (DRJ)
et al.,                                        §
                                               §
                         Debtors.              §       (Jointly Administered)
                                               §
                                               §
DRIVETRAIN, LLC, As GUC Trustee Of             §
The Ignite Restaurant Group GUC Trust,         §
                    Plaintiff,                 §       Adv. Pro. No. 19-03467 (DRJ)
vs.                                            §
                                               §
1st FM LLC,                                    §
                                               §
                                               §
                                               §
                         Defendant.            §


                                  DEFAULT JUDGMENT
                              AGAINST DEFENDANT 1st FM LLC
                                   (Related to Docket No. 1)

         The Court, after consideration of the Request for Entry of Default Judgment Against

Defendant 1st FM LLC (the "Request for Default"), has determined that the Complaint in this

action was attempted on the active registered agent of 1st FM LLC (the "Defendant") and that

Defendant has failed to timely answer or otherwise plead in the instant action. Therefore, the

Court is of the opinion that the Request for Default is meritorious and should be, in all things,

GRANTED. It is therefore


ORDERED that Drivetrain, LLC, the duly appointed GUC Trustee of the Ignite

Restaurant Group GUC Trust is granted judgment against Defendant in the sum of

$51,321.48 plus pre-judgment interest on said amount at the rate of 3% per annum accruing

from the date of
                                                                                         Page 1 of 2
56797/0002-18180037v1
           Case 19-03467 Document 9 Filed in TXSB on 10/29/20 Page 2 of 2




service of the Complaint through the date of this Judgment, and post-judgment interest on

said amount at the rate of .13% from the date hereof until paid in full, plus costs of court as taxed

by the Clerk of the Court.



Signed: October
SIGNED            29, 2020. day of _____________________, 2019.
        this the __________
                                             ____________________________________
                                             DAVID R. JONES
                                             UNITED STATES BANKRUPTCY JUDGE




                                                                                            Page 2 of 2
56797/0002-18180037v1
